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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                NORTHERN DIVISION


UNITED STATES OF AMERICA,

       Plaintiff,                         CASE NO: 08-20517-06

v.                                        DISTRICT JUDGE THOMAS L. LUDINGTON
                                          MAGISTRATE JUDGE CHARLES E. BINDER
ENRIQUE FARIAS-VALENCIA,

       Defendant.
                                   /


                  MAGISTRATE JUDGE’S REPORT, FINDINGS AND
                RECOMMENDATION CONCERNING PLEA OF GUILTY


I.     REPORT AND FINDINGS

       All parties having signed a consent, on April 16, 2009, this Defendant was referred to

the undersigned Magistrate Judge pursuant to 28 U.S.C. §§ 636(b)(1(B) and 636(b)(3) for the

purpose of receiving Defendant’s offer of a plea of guilty. The Defendant, along with counsel,

appeared before me on April 21, 2009. In open court I examined the Defendant under oath,

confirmed the Defendant’s consent, and then advised and questioned the Defendant regarding

each of the inquiries prescribed by Rule 11(b) of the FEDERAL RULES OF CRIMINAL

PROCEDURE. Based upon the Defendant’s answers and demeanor, I HEREBY FIND 1) that

the Defendant is competent to tender a plea, 2) that Defendant’s plea was knowingly,

intelligently made, and 3) that the offense to which he pled is supported by an independent

basis in fact containing each of the essential elements of the offense. Therefore, I have ordered

the preparation of a presentence investigation report.
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II.      RECOMMENDATION

         For the reasons set forth above, IT IS RECOMMENDED that subject to the Court’s

consideration of the plea agreement pursuant to Rule 11(c) of the FEDERAL RULES OF

CRIMINAL PROCEDURE, the Defendant be adjudged guilty and have sentence imposed.



III.     REVIEW

         The parties to this action may object to and seek review of this Report and

Recommendation within ten (10) days of service of a copy hereof as provided for in 28 U.S.C.

§ 636(b)(1). Failure to file specific objections constitutes a waiver of any further right of

appeal. Thomas v. Arn, 474 U.S. 140, 106 S. Ct. 466, 88 L. Ed.2d 435 (1985); Frontier Ins.

Co. v. Blaty, 454 F.3d 590, 596 (6th Cir. 2006); United States v. Sullivan, 431 F.3d 976, 984

(6th Cir. 2005). The parties are advised that making some objections, but failing to raise

others, will not preserve all the objections a party may have to this Report and

Recommendation. McClanahan v. Comm’r of Social Security, 474 F.3d 830, 837 (6th Cir.

2006); Frontier Ins. Co., 454 F.3d at 596-97. Pursuant to E.D. Mich. LR 72.1(d)(2), a copy of

any objections is to be served upon this Magistrate Judge.




                                                              C
                                                          s/ harles`      EBinder
                                                         CHARLES E. BINDER
Dated: April 22, 2009                                    United States Magistrate Judge


                                               CERTIFICATION

        I hereby certify that this Report and Recommendation was electronically filed this date, electronically
served on Shane Waller and Elias Escobedo, and served on District Judge Ludington in the traditional manner.

Date: April 22, 2009                     By    s/Jean L. Broucek
                                         Case Manager to Magistrate Judge Binder
